872 F.2d 420Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Clarence Lee WRIGHT, Petitioner-Appellant,v.Edward W. MURRAY, Director of the Virginia Department ofCorrections, Respondent-Appellee.
    No. 88-7228.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 28, 1989.Decided March 24, 1989.
    
      Clarence Lee Wright, appellant pro se.
      Robert Q. Harris, Office of the Attorney General of Virginia, for appellee.
      Before DONALD RUSSELL, PHILLIPS, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Clarence Lee Wright seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Wright v. Murray, C/A No. 87-786-N (E.D.Va. Aug. 8, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    